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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS

SECURITIES AND EXCHANGE COMMISSION,                        )
                                                           )
                     Plaintiff,                            )
                                                           )
                v.                                         )      CIVIL ACTION
                                                           )      NO. 12-12324-MLW
BIOCHEMICS, INC., ET AL.,                                  )
                                                           )
                     Defendants.                           )
                                                           )

    JOINT MOTION OF JOHN MASIZ ON BEHALF OF HIMSELF AND THE NON-
     PARTY RESPONDENTS AND INPELLIS, INC., AS DIRECTED BY INPELLIS
     BANKRUPTCY COURT, FOR “EXPEDITED” “CLARIFICATION” OF THIS
                 COURT’S 10-9-18 STAY ORDER [DOC. #452]

        Pursuant to Hon. Joan N. Feeney’s order dated February 19, 2019 in the Inpellis

bankruptcy case, In Re Inpellis, Inc. Case No. 18-12844-JNF [Inpellis Doc. #77] (a copy of

which is attached as Exhibit 1), Respondents1 and Inpellis, Inc., on an expedited basis, jointly

move for: clarification of this Court’s 10-9-18 stay order [Doc. #452] regarding ADEC’s

“Motion for Leave to Conduct Rule 2004 Examinations” [Inpellis Doc. #63 (also Doc. #506-2)].

       The Receiver has authorized Respondents and Inpellis to note that the Receiver joins in

the relief sought.

       WHEREFORE, respectfully, Masiz on behalf of himself and the non-party Respondents,

Inpellis, and the Receiver jointly request, on an expedited basis, such clarification.


1
  Respondents include: Jan Schlichtmann and Zhen Zhu, the subjects of ADEC’s FRBP Rule
2004 Examination request. 1-10-19 ADEC motion for FRBP Rule 2004 examinations (Inpellis
Doc. #63 (Doc. #506-2)). In addition, Respondents also include: the individuals and entities
named in ADEC’s 12-17-18 “Demand Letter” (Doc. #480-1) that are the subject of ADEC’s 1-2-
19 Motion for Leave (Doc. #480) regarding the Court’s 10-9-18 Receiver Order Stay (Doc.
#452): The Trustees of the Shareholder Resolution Trust (Jack Altshuler, Esq., Daniel Glosband,
Esq., and Jan Schlichtmann, Esq.); the former officers, directors, managers of BioChemics
(Marshall Sterman, Frank Manguso, Jan Schlichtmann, Zhen Zhu) and Inpellis (Marshall
Sterman, Frank Manguso, Joseph McGonagle, Zhen Zhu); John Masiz; and BioPhysics Pharma
Inc. (collectively referred to as “Respondents”).
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Dated: February 22, 2019

Respectfully Submitted by,

John Masiz for himself                      Inpellis, Inc.
and the non-party Respondents               By its attorney,
that are the subject of ADEC’s
1-2-19 Motion (Doc. #480):

By their attorney,


 /s/ Jan Schlichtmann                 /s/ Jeffrey D. Sternklar
Jan Schlichtmann (BBO #445900)        Jeffrey D. Sternklar (BBO#549561)
PO Box 233                            JEFFREY D. STERNKLAR LLC
Prides Crossing, MA 01965             26th Floor
O: 978-804-2553                       225 Franklin Street
Email: jan@schlichtmannlaw.com        Boston, MA 02110
                                      Telephone: (617) 396-4515
                                      Facsimile: (617) 507-6530
                                      Email: jeffrey@sternklarlaw.com

Joinder In Relief Requested:

Receiver

/s/ Mark G. DeGiacomo
Mark G. DeGiacomo, Esq. BBO #118170
Taruna Garg, Esq. BBO #654665
Murtha Cullina, LLP
99 High Street
Boston, MA 02110
O: (617) 457-4000
F: (617) 482-3868
mdegiacomo@murthalaw.com
tgarg@murthalaw.com




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                       CERTIFICATE OF ELECTRONIC SERVICE

       I hereby certify that, on February 22, 2019 a true and correct copy of the foregoing
document was served on counsel for the Commission, the Receiver, the Inpellis Bankruptcy
Trustee, and ADEC by electronic service through the CM/ECF.

Dated: February 22, 2019

Respectfully submitted,

John J. Masiz
By his attorney

/s/ Jan Schlichtmann
Jan R. Schlichtmann, Esq. (BBO #445900)

Electronic Service:

Commission:                                        Receiver
Kathleen Burdette Shields (BBO No. 637438)         Mark G. DeGiacomo, Esq. BBO #118170
David H. London (BBO No. 638289)                   Taruna Garg, Esq. BBO #654665
Securities and Exchange Commission                 Murtha Cullina, LLP
33 Arch Street, 24th Floor                         99 High Street
Boston, Massachusetts 02110                        Boston, MA 02110
Telephone: (617) 573-8904 (Shields direct)         O: (617) 457-4000
Email: shieldska@sec.gov                           F: (617) 482-3868
londond@sec.gov                                    mdegiacomo@murthalaw.com
                                                   tgarg@murthalaw.com
Counsel For ADEC:
MORGAN LEWIS & BOCKIUS LLP                         TODD & WELD LLP
P. Sabin Willett                                   Howard M. Cooper, Esq. BBO #543842
BBO #542519                                        Joseph M. Cacace, Esq. BBO #672298
One Federal Street                                 One Federal Street, 27th Floor
Boston, MA 02110                                   Boston, MA 02109
Telephone: (617) 341-7700                          (617) 720-2626
Facsimile: (617) 341-7701                          hcooper@toddweld.com
sabin.willett@morganlewis.com                      jcacace@toddweld.com

Inpellis Bankruptcy Trustee
John Aquino, Esq.
ANDERSON AQUINO LLP
240 Lewis Wharf
Boston, MA 02110
Telephone: (617) 723-3600
Facsimile: (617) 723-3699
jja@andersonaquino.com




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